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                                                                                                        •f August 15tfi, 2016 v

4:27 PM alNon Have you heard from Dawn since posting the story?
                                                                                                                                                                                   I will have to give you the full scoop!!
                                                                                     I have a feeling (hat this shit isn't over, as hard as I tried to land that plane peacefully.
<i07PM sonya Ha ha- you mean the recording of It last week? Thankfully not. (£i) But
cV.08 pm alison Yes please! The story Is SO GOOD
                                                                                       is ever published, she Is totally going to muider me!!
6.-OSPM sonya Yeah, Dawn just continues to fascinate me. FASCINATE ME. If that story
4:10 PM alison Whatever, we'll all ice her out If she tries to mess with you
         What if you publlshori a short story collection
          Revolving entirely
          around Dawn
                                                                                                 tiiis particular narcissistic dynamic, especially as It relates to race. The woman Is a goldmine!!
 &12PM sonya Dude-' I could write pages and pages more about Dawn. Or at least about
                                                                                             woman engages with race" fence
 6:13 pm alison Sfiereal/yls.! livo in fear of falling on her side of the line of the ‘white
                                                                                                                                                                                                              '<§/©>$
          It all comes off  as so  self-promoti  ng
                                                                                               -.'. ••
i&is PM; soriya TTiat wflf never ever fiappefr to yod.fracauie.yoo ’are-actoalfy sdf-avvafel!!
 MS PM   alison   I hope that is true  but! will remain on my  guard.




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